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 6 United States of America

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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00288 LJO-SKO

12                                Plaintiff,            MOTION TO UNSEAL GOVERNMENT’S EX
                                                        PARTE TO INITIATE PROCEEDINGS FOR
13                          v.                          REVOCATION OF RELEASE ORDER (DOCKET
                                                        NO. 250) AND ORDER THEREON
14   GARY PASSMORE,

15                               Defendant.
                                                        COURT: Hon. Lawrence J. O'Neill
16

17          The UNITED STATES OF AMERICA, by and through PHILLIP A. TALBERT, United States

18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorney, hereby moves to unseal

19 Docket Numbers 250 and 251, entitled Government’s Ex Parte Motion to Initiate Proceedings for

20 Revocation of Release Order and For Issuance of Warrant and the Court’s Order thereon. These

21 documents were previously ordered sealed pending the defendant’s arrest. The defendant has been

22 arrested in the Western District of Washington and there is no further need for them to be sealed. In

23 fact, the documents are needed for the defendant’s initial appearance on this date.

24 Section 3148(b).

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      MOTION TO UNSEAL GOVERNMENT’S EX PARTE TO
      INITIATE PROCEEDINGS FOR REVOCATION OF            1
30    RELEASE ORDER (DOCKET NO. 250
          Case 1:15-cr-00288-LJO-SKO Document 266 Filed 07/06/17 Page 2 of 2

 1         For the foregoing reasons, the Government requests that the Court unseal the Government’s Ex

 2 Parte Motion to Initiate Proceedings for Revocation of the Release Order as to the defendant and the

 3 Court’s Order thereon.

 4 Dated: July 6, 2017                                 PHILLIP A. TALBERT
                                                       United States Attorney
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 6                                                     /s/
                                                       KATHLEEN A. SERVATIUS
 7                                                     Assistant United States Attorney
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 9                                                 ORDER
10         IS HEREBY ORDERED that Docket Number 250 - Government’s Ex Parte Motion to Initiate
11 Proceedings for Revocation of Release Order – be unsealed.

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     IT IS SO ORDERED.
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14      Dated:    July 6, 2017                              /s/
15                                                   UNITED STATES MAGISTRATE JUDGE

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      MOTION TO UNSEAL GOVERNMENT’S EX PARTE TO
      INITIATE PROCEEDINGS FOR REVOCATION OF           2
30    RELEASE ORDER (DOCKET NO. 250
